                                 Case 10-37371       Doc 766          Filed 07/01/22       Page 1 of 10

                                     UNITED STATES BANKRUPTCY COURT
                                               For the DISTRICT OF Maryland
                                                       (Greenbelt Division)


In re: KH Funding Company                                         §                 Case No. 10-37371
                                                                  §
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 06/30/2022                                                            Petition Date: 12/03/2010



Plan Confirmed Date:04/17/2012                                                       Plan Effective Date: 05/01/2012


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity:
                                                                                     Name of Authorized Party or Entity




/s/ James Van Horn                                                       James Van Horn
Signature of Responsible Party                                           Printed Name of Responsible Party
07/01/2022
Date                                                                     1717 Pennsylvania Avenue N.W., Suite 500
                                                                         Washington, DC 20006
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




UST Form 11-PCR (12/01/2021)                                      1
                                Case 10-37371              Doc 766            Filed 07/01/22     Page 2 of 10
Debtor's Name KH Funding Company                                                                            Case No. 10-37371


Part 1: Summary of Post-confirmation Transfers

                                                                                                                       Total Since
                                                                                               Current Quarter        Effective Date

 a. Total cash disbursements                                                                          $144,273              $6,217,344
 b. Non-cash securities transferred                                                                           $0                    $0
 c. Other non-cash property transferred                                                                       $0                    $0
 d. Total transferred (a+b+c)                                                                         $144,273              $6,217,344

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                 Approved       Approved     Paid Current     Paid
                                                                               Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor              Aggregate Total
                                                                                          $0    $1,137,897             $0    $1,137,897
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Stegman & Company                  Financial Professional                $0       $11,750             $0        $11,750
        ii       Gordon Feinblatt LLC               Lead Counsel                          $0      $353,800             $0       $353,800
        iii      McGuireWoods LLP                   Local Counsel                         $0       $26,336             $0        $26,336
        iv       BDO Consulting                     Financial Professional                $0      $415,722             $0       $415,722
        v        Pachulski Stang Ziehl & Jones LLead Counsel                              $0      $330,289             $0       $330,289
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UST Form 11-PCR (12/01/2021)                                              2
                         Case 10-37371   Doc 766       Filed 07/01/22   Page 3 of 10
Debtor's Name KH Funding Company                                              Case No. 10-37371


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UST Form 11-PCR (12/01/2021)                       3
                               Case 10-37371             Doc 766           Filed 07/01/22      Page 4 of 10
Debtor's Name KH Funding Company                                                                          Case No. 10-37371


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                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor            Aggregate Total
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i
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UST Form 11-PCR (12/01/2021)                                           4
                         Case 10-37371   Doc 766       Filed 07/01/22   Page 5 of 10
Debtor's Name KH Funding Company                                              Case No. 10-37371


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UST Form 11-PCR (12/01/2021)                       5
                         Case 10-37371   Doc 766       Filed 07/01/22   Page 6 of 10
Debtor's Name KH Funding Company                                              Case No. 10-37371


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UST Form 11-PCR (12/01/2021)                       6
                                   Case 10-37371              Doc 766        Filed 07/01/22         Page 7 of 10
Debtor's Name KH Funding Company                                                                               Case No. 10-37371


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c.          All professional fees and expenses (debtor & committees)                        $0      $1,137,898             $0     $1,137,898

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                      % Paid of
                                                  Payments           Paid Current                                                 Allowed
                                                 Under Plan            Quarter           Paid Cumulative      Allowed Claims       Claims
 a. Administrative claims                             $1,326,900             $144,273            $5,892,845          $5,892,845      100%
 b. Secured claims                                             $0                 $0              $267,823            $267,823        100%
 c. Priority claims                                        $57,000                $0               $56,676             $56,676        100%
 d. General unsecured claims                          $5,800,000                    $0                  $0          $39,123,051         0%
 e. Equity interests                                           $0                 $0                    $0


Part 4: Questionnaire
     a. Is this a final report?                                                                               Yes     No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:         09/30/2022
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                     Yes     No




UST Form 11-PCR (12/01/2021)                                             7
                                 Case 10-37371     Doc 766           Filed 07/01/22      Page 8 of 10
Debtor's Name KH Funding Company                                                                   Case No. 10-37371




                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Alfred T. Giuliano                                                  Alfred T. Giuliano
Signature of Responsible Party                                          Printed Name of Responsible Party
Plan Administrator                                                      07/01/2022
Title                                                                   Date




UST Form 11-PCR (12/01/2021)                                     8
                         Case 10-37371   Doc 766         Filed 07/01/22   Page 9 of 10
Debtor's Name KH Funding Company                                                Case No. 10-37371




                                                     Page 1




                                                   Other Page 1




                                              Page 2 Minus Tables




                                             Bankruptcy Table 1-50



UST Form 11-PCR (12/01/2021)                         9
                        Case 10-37371   Doc 766         Filed 07/01/22     Page 10 of 10
Debtor's Name KH Funding Company                                                  Case No. 10-37371




                                             Bankruptcy Table 51-100




                                             Non-Bankruptcy Table 1-50




                                            Non-Bankruptcy Table 51-100




                                               Part 3, Part 4, Last Page




UST Form 11-PCR (12/01/2021)                           10
